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 1   COUNSEL LISTED ON SIGNATURE BLOCK
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8                               UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA
10
                                                       )    No.: M-07-5944 SC
11     In Re CATHODE RAY TUBE (CRT)                    )
       ANTITRUST LITIGATION                            )    MDL NO. 1917
12                                                     )
                                                       )    STIPULATION AND [PROPOSED]
13                                                     )    ORDER EXTENDING TIME TO FILE
       This Document Relates to:
                                                       )    OBJECTIONS TO THE SPECIAL
14
       ALL INDIRECT PURCHASER                          )    MASTER’S REPORT,
15     ACTIONS                                         )    RECOMMENDATIONS, AND
                                                       )    TENTATIVE RULINGS REGARDING
16                                                     )    DEFENDANTS’ JOINT MOTION TO
                                                       )    DISMISS THE SECOND
17                                                     )    CONSOLIDATED AMENDED
18                                                     )    COMPLAINT OF THE INDIRECT
                                                       )    PURCHASER PLAINTIFFS
19                                                     )
                                                       )
20
                    WHEREAS on September 30, 2010, Special Master Charles A. Legge issued
21
     and filed via ECF his Report, Recommendations And Tentative Rulings Regarding Defendants’
22
     Joint Motion To Dismiss The Second Consolidated Amended Complaint of the Indirect
23   Purchaser Plaintiffs (Docket No. 768) (the “Report”);
24                  WHEREAS pursuant to this Court’s June 16, 2008 Order, the parties have until
25   fourteen (14) days after the filing of the Special Master's Report via ECF (i.e., until October 14,

26   2010) to file orbjections to or a motion to adopt or modify the Special Master's Report;
                    WHEREAS on October 7, 2010, Defendants filed a Motion to Adopt the Special
27
     Master's Report in full (Docket No. 780);
28   797853.1                                          1
           STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO OBJECT TO THE SPECIAL
                                       MASTER’S REPORT
     Case 3:07-cv-05944-JST Document 784 Filed 10/15/10 Page 2 of 3



 1                    WHEREAS by letter dated October 8, 2010, the Indirect Purchaser Plaintiffs

 2   (“Plaintiffs”) asked the Special Master to clarify certain recommendations and tentative rulings
     in the Report;
 3
                      WHEREAS the Special Master has informed the parties that he will not be able
 4
     to address the request for clarification until the week beginning October 18, 2010;
 5
                      WHEREAS the Special Master’s response to the request for clarification will
 6   determine whether the Indirect Purchaser Plaintiffs file objections as to these recommendations
 7   and tentative rulings;
8                     WHEREAS the parties have met and conferred and agree that it is appropriate to

 9   extend the time for filing objections to the Report so that the Special Master may clarify his
     recommendations and tentative rulings.
10
                      IT IS HEREBY STIPULATED AND AGREED, by and between counsel for the
11
     undersigned defendants and plaintiffs, that:
12                    1.      The time for filing objections to the Special Master’s Report shall be
13   extended until seven (7) days after the Special Master responds to Plaintiffs' pending request to
14   clarify the Special Master's recommendations and tentative rulings.

15                    2.      The Court will not issue a ruling on Defendants' pending Motion to
     Adopt the Special Master's Report until after the time provided in paragraph 1 above has
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     passed.
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18
                      IT IS SO STIPULATED.
19

20   Dated: October 13, 2010                By:      /s/ Jeffrey L. Kessler
21                                                  JEFFREY L. KESSLER (pro hac vice)
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22                                                  A. PAUL VICTOR (pro hac vice)
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         STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO OBJECT TO THE SPECIAL
                                     MASTER’S REPORT
     Case 3:07-cv-05944-JST Document 784 Filed 10/15/10 Page 3 of 3



 1                                         Attorneys for Defendants Panasonic
                                           Corporation of North America, MT Picture
 2                                         Display Corporation of America (NY) (defunct),
                                           MT Picture Display Co., Ltd. and Panasonic
 3
                                           Corporation (f/k/a Matsushita Electric
 4                                         Industrial Co.) And Liaison Counsel For All
                                           Defendants
 5

 6
 7   Dated: October 13, 2010        By:    /s/ Mario N. Alioto
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                                           Facsimile: (415) 346-0679
13
                                           Interim Lead Counsel for the Indirect
14                                         Purchaser Plaintiffs
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           PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                                                                  S DISTRICT
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     DATED:_ October 15, 2010
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19                                                       Hon.
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                                                     United States District Judge
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         STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO OBJECT TO THE SPECIAL
                                     MASTER’S REPORT
